          Case 1:15-cv-00701-JWF Document 218 Filed 01/25/22 Page 1 of 1

Judgment in a Civil Case


                             United States District Court
                         WESTERN DISTRICT OF NEW YORK



DOUGLAS J. HORN, ET AL                                INTERIM
                                                      JUDGMENT IN A CIVIL CASE
                                                      CASE NUMBER: 15-CV-701
      v.

MEDICAL MARIJUANA, INC., ET AL


☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The
issues have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED Upon Court Order, the Court grants in part and
denies in part Defendants’ motion (docket #194, 200). The civil RICO claim is dismissed
pursuant to the Court’s authority under Rule 56(f), but Defendants’ motion is otherwise
denied.




Date: January 25, 2022                                MARY C. LOEWENGUTH
                                                      CLERK OF COURT

                                                      By: s/ Colin J.
                                                          Deputy Clerk
